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                   UNITED STATES DISTRICT COURT
                   NORTHERN DISTRICT OF GEORGIA
                         ATLANTA DIVISION

  IN RE GEORGIA SENATE BILL 202                              Master Case No.:
                                                             1:21-MI-55555-
                                                             JPB

 THE NEW GEORGIA PROJECT, et al.,

                           Plaintiffs,                       Civil Action No.:
                    v.                                       1:21-cv-01229-
                                                             JPB
  BRAD RAFFENSPERGER, in his official capacity
  as the Georgia Secretary of State, et al.,

                           Defendants,

  REPUBLICAN NATIONAL COMMITTEE, et al.,

                           Intervenor-Defendants.

    NGP PLAINTIFFS’ MOTION FOR PRELIMINARY INJUNCTION

      Pursuant to Rule 65 of the Federal Rules of Civil Procedure, Plaintiffs New

Georgia Project, Black Voters Matter Fund, Rise, Inc., Elbert Solomon, Fannie

Marie Jackson Gibbs, and Jauan Durbin respectfully move the Court for a

preliminary injunction enjoining Defendant Keith Gammage, in his official capacity

as the Solicitor General of Fulton County, and Defendant Gregory W. Edwards, in

his official capacity as the District Attorney for Dougherty County, from enforcing

during the November 2022 elections, and any other elections held before final
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judgment in this case, the provisions of O.C.G.A. § 21-2-414(a) that impose criminal

penalties on those who “give, offer to give, or participate in the giving of any money

or gifts, including, but not limited to, food and drink, to an elector … [w]ithin 150

feet of the outer edge of any building within which a polling place is established” or

“[w]ithin 25 feet of any voter standing in line to vote at any polling place.”

      For the reasons set forth in detail in NGP Plaintiffs’ accompanying Brief in

Support of Plaintiffs’ Motion for Preliminary Injunction, Plaintiffs have established

that they are likely to succeed on the merits of their claim that this criminal ban

violates the First Amendment by unjustifiably restricting their ability to engage in

expressive conduct. Enforcement of this law would irreparably harm Plaintiffs and

similar organizations and voters across the State; this harm outweighs any harm

Defendants Gammage and Edwards would suffer were the Court to order the relief

sought by Plaintiffs; the balance of hardships weighs in Plaintiffs’ favor; and a

preliminary injunction is in the public interest.




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Respectfully submitted this 3rd day of June, 2022,


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                       CERTIFICATE OF COMPLIANCE

      I hereby certify that the foregoing document has been prepared in accordance

with the font type and margin requirements of L.R. 5.1, using font type of Times

New Roman and a point size of 14.


Dated: June 3, 2022                                   /s/ Uzoma N. Nkwonta
                                                      Counsel for Plaintiffs




                          CERTIFICATE OF SERVICE

      I hereby certify that on June 3, 2022, I electronically filed this document with

the Clerk of Court using the CM/ECF system which will automatically send email

notification of such filing to the attorneys of record.


Dated: June 3, 2022                                   /s/ Uzoma N. Nkwonta
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